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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                Eastern Division

Karen Briggs
                                  Plaintiff,
v.                                                    Case No.: 1:21−cv−06762
                                                      Honorable Ronald A. Guzman
Samaha Investments, Inc.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 26, 2022:


        MINUTE entry before the Honorable Ronald A. Guzman: Pursuant to the parties'
agreed stipulation to dismiss under Federal Rule of Civil Procedure 41(a)(1)(A)(ii) [12],
the claims of Plaintiff, Karen Briggs, are dismissed with prejudice, with the parties to bear
their own costs and fees. All claims of any unnamed member of the class are dismissed
without prejudice. All future dates are stricken. Civil case terminated. Mailed notice. (kp,
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ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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